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                                             April 9, 2018
     VIA ECF

     The Honorable Denise L. Cote
     United States District Court
     Southern District of New York
     500 Pearl St., Courtroom 15B
     New York, NY 10007-1312

             Re:     Sharkey v. J.P. Morgan Chase & Co., et al., No. 10 Civ. 3824 (DLC)

     Dear Judge Cote:

             This firm represents Defendants in the above-referenced matter.

              In accordance with the Court’s Order dated March 29, 2018, the parties attempted
     to agree on a private meditator to conduct a mediation in April. Unfortunately, the
     parties have been unable to agree on a mutually-acceptable mediator. Therefore, we
     respectfully request that Your Honor appoint a Magistrate Judge, not previously assigned
     to this case, to conduct a mediation in April.

            I discussed this request with Plaintiff’s counsel, who advised me that Plaintiff has
     no objection. Plaintiff’s counsel also asked me to inform the Court that Plaintiff is
     prepared to return to the Magistrate Judge who conducted the prior three mediation
     sessions. Defendants, however, believe that because the prior mediation sessions were
     not successful, the settlement process may benefit from the appointment of a new
     Magistrate Judge.

            Accordingly, we respectfully ask that Your Honor appoint a new Magistrate
     Judge for purposes of mediation in April.

             We appreciate Your Honor’s consideration of this matter.

                                                    Respectfully submitted,
                                                    /s/ Michael D. Schissel




                                                    Michael D. Schissel

     cc:     Douglas H. Wigdor, Esq. (via ECF)
             Michael J. Willemin, Esq. (via ECF)
             Kathleen A. Reilly, Esq. (via ECF)

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